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                                        October 16, 2023

VIA E-FILING
The Honorable Gregory B. Williams
J. Caleb Boggs Federal Building
844 N. King Street
Room 6124, Unit 26
Wilmington, DE 19801-3556

    Re:        3G Licensing, S.A., et al. v. HTC Corporation, C.A. 17-cv-83-LPS

Dear Judge Williams:

    Plaintiffs write in response to HTC’s letter (D.I. 731) regarding Jury Instruction 1.3. To be
clear, Plaintiffs disagree with HTC’s position that Rule 30(b)(6) testimony of HTC’s corporate
representatives referenced during trial is not “substantive evidence.” Such testimony is plainly
admissible under Federal Rule of Civil Procedure 801(d)(2) as an “opposing party’s statement.”
Indeed, it is telling that HTC never once objected to such testimony and decided to raise this
purported “issue” for the first time only after the close of all evidence. HTC’s witnesses’
testimony is plainly substantive evidence that the jury can and should consider, and it would be
error to instruct them otherwise.

    In any case, that is a dispute for another day. To avoid burdening the Court, and given that
HTC has narrowed the relief it seeks to the removal of the words “or read” from Jury Instruction
1.3, Plaintiffs do not oppose the Court doing so.


                                             Respectfully submitted,

                                             /s/ Brian E. Farnan

                                             Brian E. Farnan



cc: Counsel of Record (via E-Filing)




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